                             UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF IOWA
                                    WESTERN DIVISION

 JOSHUA HARMS,
                                                          Case No. 5:18-cv-4023
                   Plaintiff,

         v.

 CITY OF SIBLEY, IOWA, GLENN                                    PLAINTIFF’S MOTION FOR
 ANDERSON, Sibley City Administrator,                            OVERLENGHT BRIEF
 in his individual and official capacity, and
 SUSAN SEMBACH, Sibley City Clerk, in                                LOCAL RULE 7(h)
 her individual and official capacity,

                   Defendants.


                   PLAINTIFF’S MOTION TO FILE OVER-LENGTH BRIEF

       COMES NOW, Plaintiff, by and through his attorneys pursuant to Local Rule 7(h), and

respectfully move this Court for leave to file an over-length brief, attached as Plaintiffs’ Brief in

Support of Its Motion for a Preliminary Injunction:

       1. Because this Motion and Brief are filed concurrently with the Complaint, obtaining

              consent from the Defendants is impracticable;

       2. Plaintiffs require just lightly more than 20 pages given the substantive analysis

              needed to effectively demonstrate likelihood of success on the merits on each of its

              three First Amendment claims in support of its motion for a preliminary injunction in

              this action in the manner that will best assist this Court in rendering a decision in this

              matter;

       3. Concision has been prioritized in the drafting of the brief.


March 8, 2018.




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                                Respectfully submitted,

                                /s/ Rita Bettis
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